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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA,
                                                                     No. 09-cr-130 (PGS)

                       V.
                                                                           ORDER

DALNAVE NAVIGATION, INC.,
PANAGIOTIS STAMATAKIS, AND
DIMITRIOS PAPADAKIS.



        This matter comes before the Court on an April 17, 2009 conference call. Good cause

having been shown, it is hereby

        ORDERED that the deposition of material witness Vasly Granych shall take place on

April 22, and 24, 2009; and it is further

       ORDERED that a status conference shall occur on April 24, 2009 at 1:30 p.m. to discuss

the depositions of material witnesses; and it is further

       ORDERED that the six material witness stay within this jurisdiction until the completion

of the deposition of Mr. Granych; and it is further

       ORDERED that Mr Granych’s passport, as well as the passports of the other material

witnesses, shall be returned to him on or before April 30, 2009; and it is further

       ORDERED that the U.S. Attorney shall give notice to all the parties, including the

counsel for the material witnesses, regarding the April 24, 2009 conference call.


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 (      /                                             PETER G. SHERIDAN, U.S.D.J.
